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                            UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF LOUISIANA


                                                     CIVIL ACTION NO. 2:21-cv-748
 DYNAMIC INDUSTRIES, INC.,
 DYNAMIC INDUSTRIES                                  JUDGE IVAN L.R. LEMELLE
 INTERNATIONAL, LLC and DYNAMIC
 INDUSTRIES SAUDI ARABIA, LTD.                       MAGISTRATE JUDGE JANIS VAN
                                                     MEERVELD
 VERSUS

 METLIFE - AMERICAN
 INTERNATIONAL GROUP - ARAB
 NATIONAL BANK COOPERATIVE
 INSURANCE COMPANY; WALAA
 COOPERATIVE INSURANCE CO.;
 AMERICAN LIFE INSURANCE
 COMPANY; AIG MEA INVESTMENTS
 AND SERVICES COMPANY and
 MARSH & MCLENNAN COMPANIES
 INC.

                                                ORDER

         Considering the forgoing Ex Parte Motion for Alternative Service Pursuant to Rule 4(f)(3)

filed by Plaintiffs Dynamic Industries, Inc., Dynamic Industries International, LLC, and Dynamic

Industries Saudi Arabia, Ltd. (“Plaintiffs”),

         IT IS HEREBY ORDERED that the Motion is granted, and Plaintiffs are granted leave

to serve foreign Defendants Walaa Cooperative Insurance Co. (“Walaa”) and Metlife - American

International Group - Arab National Bank Cooperative Insurance Company (“MetLife-ANB”)

with the original Complaint and Summons and a copy of the Complaint and Summons translated

into Arabic on Defendants in the following ways:

                (1) by Federal Express or another acceptable international common
                carrier to Defendant Walaa at 4513, Adh Dhahran Al Khubar Al
                Janubiyah, Unit No: 8, Al-Khobar 34621-8615, Kingdom of Saudi
                Arabia and to Defendant Metlife-ANB at 12th Floor, Al Ebdaa
                Tower, King Fahad Road, Al Shiek Mubarik Al Subah Street
                Riyadh, 11554, Saudi Arabia


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               (2) by P.O. box to Defendant Walaa at Adel Khashoggi Building,
               Custodian of the Two Holy Mosques Road, P.O. Box 31616, Al-
               Khobar 31952, Kingdom of Saudi Arabia and to Defendant Metlife-
               ANB at Al-Munajem Tower - King Fahad Road - Olaya District,
               P.O. Box: 56437, Riyadh 11554, Kingdom of Saudi Arabia; or

               (3) by any other means reasonably calculated to provide Defendants
               with actual notice, if the aforementioned options are unsuccessful,
               including actual delivery to the registered office and electronic mail

New Orleans, Louisiana this _____ day of April, 2021.


                                              __________________________________________
                                              UNITED STATES DISTRICT JUDGE




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